915 F.2d 1584
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Jesus E. DELFIN, Petitioner,v.OFFICE OF PERSONNEL MANAGEMENT, Respondent.
    No. 90-3297.
    United States Court of Appeals, Federal Circuit.
    Sept. 27, 1990.
    
      Before RICH, Circuit Judge, and SKELTON and BALDWIN, Senior Circuit Judges.
      PER CURIAM.
    
    
      1
      The initial decision of the Merit Systems Protection Board (Board), dated September 13, 1989, which became final on February 23, 1990, Docket No. SE08318910569, affirming the reconsideration decision of the Office of Personnel Management (OPM), which denied the petitioner a deferred civil service retirement annuity because the petitioner had not demonstrated that he had the five years of credible civil service for such an annuity, is affirmed on the basis of the opinion of the Administrative Judge of the Board.
    
    